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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

                                                 )
KYTCH, INC.,                                     )
                                                 )
                      Plaintiff,                 )
                                                 )
       v.                                        ) C.A. No. 22-279-MN
                                                 )
MCDONALD’S CORPORATION,                          )
                                                 )
                      Defendant.                 )
                                                 )

               MOTION AND ORDER FOR ADMISSION PRO HAC VICE

       Pursuant to District of Delaware Local Rule 83.5 and the attached certifications, counsel

moves for the admission pro hac vice of Catherine Y. Lui, Kristopher R. Wood, and Nicole

Gelsomini, of Orrick Herrington & Sutcliffe LLP, to represent Defendant McDonald’s

Corporation in the above-captioned action.

Of Counsel:                                            YOUNG CONAWAY STARGATT
Catherine Y. Lui                                        & TAYLOR, LLP
Nicole Gelsomini
ORRICK HERRINGTON & SUTCLIFFE LLP                      /s/ Samantha G. Wilson
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kristopher.wood@orrick.com                             McDonald’s Corporation

Dated: March 11, 2022
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                            ORDER GRANTING MOTION

     IT IS HEREBY ORDERED that counsel’s Motion for Admission Pro Hac Vice of

Catherine Y. Lui, Kristopher R. Wood, and Nicole Gelsomini is GRANTED.


Date: _____________, 2022


                                               ___________________________________
                                               United States District Judge




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          CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE


       Pursuant to District of Delaware Local Rule 83.5, I certify that I am eligible for

admission to this Court and am admitted, practicing, and in good standing as a member of the

State Bar of California, and pursuant to District of Delaware Local Rule 83.6 submit to the

disciplinary jurisdiction of this Court for any alleged misconduct that occurs in the preparation or

course of this action. I also certify that I am generally familiar with this Court’s Local Rules. In

accordance with Revised Standing Order for District Court Fund, I further certify that the annual

fee of $25.00 has been paid to the Clerk of Court, or, if not paid previously, the fee payment will

be submitted to the Clerk’s office upon the filing of this motion.



Dated: March 11, 2022                         /s/ Catherine Y. Lui
                                              Catherine Y. Lui
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         Dated: March 10, 2022                         /s/ Kristopher R. Wood
                                                       Kristopher R. Wood
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be submitted to the Clerk’s office upon the filing of this motion.



Dated: March 10, 2022                         /s/ Nicole Gelsomini
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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on March 11, 2022, a copy of the foregoing

document was served on the persons listed below in the manner indicated:

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